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United States District Court
Eastern District of Michigan

United States of America JUDGMENT IN A CRIMINAL CASE
V.
KWAME M. KILPATRICK Case Number: 10CR20403-1

USM Number: 44678-039
[AKA: Kilpatrick, Kwame Malik]

Harold Z. Gurewitz & Margaret Sind Raben

Defendant's Attorney

THE DEFENDANT:

@ Was found guilty on count(s) 1sss-5sss, 9sss, 17sss, 18sss-26sss, 28sss, 30sss, 31sss-36sss of the Fourth Superseding
Indictment after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
See page 2 for details.

The defendant is sentenced as provided in pages 2 through 10 of this judgment. This sentence is imposed pursuant to the
Sentencing Reform Act of 1984

@ The defendant has been found not guilty on count(s) 10sss, 27sss, 29sss of the Fourth Superseding Indictment.
@ Count(s) 7sss, 8sss & 16sss of the Fourth Superseding Indictment no verdict.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.

If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

OCTOBER 10, 2013 000.

Date of Imposition of Judgment

    

s/Naiiey‘G.Edmunds
United StatésDistrict J udge

 

DECEMBER 17, 2013
Date Signed

 
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DEFENDANT: KWAME M. KILPATRICK
CASE NUMBER: 10CR20403-1

Title & Section

18 U.S.C. §§ 1962(d)
and 1963(a)

18 U.S.C. §§ 1951 and
1951(b)(2)

18 U.S.C. §§ 1951 and
1951(b)(2)
18 U.S.C. §§ 1951 and
1951(b)(2)

18 U.S.C. §§ 1951 and
1951(b)(2)

18 U.S.C. §§ 1951 and
1951(b)(2)

18 U.S.C. §§ 666(a) and
666(a)(B)(2)

18 U.S.C. § 1341

18 U.S.C. § 1341

18 U.S.C. § 1341

18 U.S.C. 1341

18 U.S.C. 1341

18 U.S.C. 1341

18 U.S.C. 1341

18 U.S.C. 1341

18 U.S.C. 1341

18 U.S.C. § 1343

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ADDITIONAL COUNTS OF CONVICTION

Nature of Offense
Racketeering Conspiracy, a Class C Felony

Interference with Commerce by Extortion-Sewer
Lining Contract, a Class C Felony

Interference with Commerce by Extortion-
Amendment to Sewer Lining Contract, a Class C
Felony

Interference with Commerce by Extortion- Baby
Creek/Patton Park, a Class C Felony

Interference with Commerce by Extortion- Oakwood
Pump Station, a Class C Felony

Interference with Commerce by Extortion- Repair of
Eastside Water Mains, a Class C Felony

Bribery Concerning Programs Receiving Federal
Funds- $75,000.00 Bribe, a Class C Felony

Mail Fraud - June 22, 2006, donor check for
$10,000.00 payable to the Civic Fund sent via
Federal Express, a Class C Felony

Mail Fraud - February 13, 2007, Letter explaining the
Civic Fund to donor sent via U.S. Mail, a Class C
Felony

Mail Fraud - September 26, 2007, donor check for
$5,000.00 payable to the Civic Fund, sent via U.S.
Mail, a Class C Felony

Mail Fraud - April 3, 2008, Civic Fund check in the
amount of $4,500.00 for summer camp sent via
Federal Express, a Class C Felony

Mail Fraud - May 23, 2008, letter soliciting a
donation and explaining the Civic Fund to donor sent
U.S. Mail, a Class C Felony

Mail Fraud - June 4, 2008, Civic Fund check in the
amount of $2,640.00 sent via Federal Express, a
Class C Felony

Mail Fraud - June 4, 2008, donor check for
$10,000.00 payable to the Civic Fund sent via
Federal Express, a Class C Felony

Mail Fraud - June 25, 2008, donor check for
$1,000.00 payable to the Civic Fund sent via U.S.
Mail, a Class C FelonyA

Mail Fraud - June 30, 2008, donor check for
$4,000.00 payable to the Civic Fund sent via Federal
Express, a Class C Felony

Wire Fraud - August 24, 2007, letter soliciting a
donation and explaining the Civic Fund sent to donor
via fax, a Class C Felony

Offense Ended
2009

2006

2005

2008

2007

2008

2008

2006

2007

2007

2008

2008

2008

2008

2008

2008

2007

Count

lsss

2s8s

3sss

4sss

5sss

Osss

17sss

18sss

19sss

20sss

2\1sss

2288S

2388s

24sss

2588S

26sss

28s5ss
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18 U.S.C. § 1343 Wire Fraud-June 20, 2008, letter soliciting a donation 2008 30sss
and explaining the Civic Fund sent to donor via fax, a
Class C Felony
26 U.S.C. § 7206(1) Subscribing False Tax Return, a Class E Felony 2004 31sss
26 U.S.C. § 7206(1) Subscribing False Tax Return, a Class E Felony 2005 32sss
26 U.S.C. § 7206(1) Subscribing False Tax Return, a Class E Felony 2006 33sss
26 U.S.C. § 7206(1) Subscribing False Tax Return, a Class E Felony 2007 34sss
26 U.S.C. § 7206(1) Subscribing False Tax Return, a Class E Felony 2008 35sss

26 U.S.C. § 7201(1) Subscribing False Tax Return, a Class E Felony 2009 36sss

 
 

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DEFENDANT: KWAME M. KILPATRICK
CASE NUMBER: 10CR20403-1

IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

See next page for imprisonment terms.

The court makes the following recommendations to the Bureau of Prisons: That defendant be placed in a BOP facility as
close to Dallas,Texas as possible.

The defendant is remanded to the custody of the United States Marshal.

RETURN

I have executed this judgment as follows:

Defendant delivered on to a
, with a certified copy of this judgment.

 

 

United States Marshal

 

Deputy United States Marshal
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DEFENDANT: KWAME M. KILPATRICK

CASE NUMBER: 10CR20403-1

ADDITIONAL IMPRISONMENT TERMS
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
336 MONTHS (28 years). Pursuant to the Sentencing Reform Act of 1984, the Court, considering the sentencing guidelines and
factors contained in U.S.C. § 3553(a).
Counts Isss-5sss and 9sss: (Fourth Superseding Indictment) 240 MONTHS on each count, to run concurrently.

Count 17sss: (Fourth Superseding Indictment) 120 MONTHS, to run concurrently with counts Isss-5sss and 9sss.

Counts 18sss-26sss, 28sss and 30sss: (Fourth Superseding Indictment) 84 MONTHS on each count, concurrent to one another,
and consecutive to counts 1sss-5sss, 9sss, and 17sss.

Counts 3 1sss-36sss: (Fourth Superseding Indictment) 12 MONTHS on each count, to run concurrent to one another and
consecutive to all other counts.
 

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DEFENDANT: KWAME M. KILPATRICK
CASE NUMBER: 10CR20403-1

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of: THREE (3) YEARS on Counts
Isss-5sss, 9sss, 17sss, 18sss-26sss, 28sss and 30sss, to run concurrently. ONE (1) YEAR each on Counts 31sss-36sss, to
run concurrently with all other counts.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
If the defendant is convicted of a felony offense, DNA collection is required by Public Law 108-405.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court. Revocation of supervised release is mandatory for possession of a
controlled substance.

W@ The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
future substance abuse.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report ot the probation officer and shall submit a truthful and complete written report within the first
five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
convicted of a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement; and

14) the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. Revocation of
supervised release is mandatory for possession of a firearm.
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Sheet 3C - Supervised Release

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DEFENDANT: KWAME M. KILPATRICK
CASE NUMBER: 10CR20403-1

SPECIAL CONDITIONS OF SUPERVISION

@ The defendant shall make monthly payments on any remaining balance of the: restitution at a rate and schedule
recommended by the Probation Department and approved by the Court.

W@ The defendant shall not incur any new credit charges or open additional lines of credit without the approval of the probation
officer, unless the defendant is in compliance with the payment schedule.

M@ The defendant shall provide the probation officer access to any requested financial information.

The defendant is to make arrangements with the Internal Revenue Service (IRS) regarding a monthly payment plan
regarding the payment of back taxes, plus any penalties or interest that may accrue. The defendant is to provide the
payment arrangement schedule with the IRS to the probation officer.

The defendant is to fully cooperate with the Internal Revenue Service (IRS) by filing all delinquent or amended returns
within six months of the sentence date, and to timely file all future returns that come due during the term of probation
or supervised release. The defendant is to properly report all correct taxable income and claim only allowable expenses
on those returns. The defendant is to provide all appropriate documentation in support of said returns. Upon request,
the defendant is to furnish the IRS with information pertaining to all assets and liabilities, and the defendant is to fully
cooperate by paying all taxes, interest, and penalties due, and otherwise comply with the tax laws of the United States.
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DEFENDANT: KWAME M. KILPATRICK
CASE NUMBER: 10CR20403-1

CRIMINAL MONETARY PENALTIES

Assessment Fine Restitution

TOTALS: $ 2,400.00 $ 0.00 $4,779,826.61

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee Total Loss* Restitution Priority or
Ordered Percentage
Internal Revenue Service $195,403.61 $195,403.61
Detroit Water & Sewerage Department $4,584,423 .00 $4,584,423.00
TOTALS: $ 4,779,826.61 $ 4,779,826.61

The court determined that the defendant does not have the ability to pay interest and it is ordered that:

the interest requirement is waived for the restitution

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
 

 

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Sheet 5A _- Criminal Monetary Penalties

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DEFENDANT: KWAME M. KILPATRICK
CASE NUMBER: 10CR20403-1

ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES

The Court waives the imposition of a fine, the costs of incarceration and the costs of supervision, due to the defendant's lack of
financial resources.
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: ect 6 - schedule of Payments

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DEFENDANT: KWAME M. KILPATRICK
CASE NUMBER: 10CR20403-1

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
[A] Lump sum payment of $2,400.00 paid October 16, 2013.

Unless the court has expressly ordered otherwise in the special instructions above, while in custody, the defendant shall
participate in the Inmate Financial Responsibility Program. The Court is aware of the requirements of the program and approves
of the payment schedule of this program and hereby orders the defendant's compliance. All criminal monetary penalty payments
are to be made to the Clerk of the Court, except those payments made through the Bureau of Prison's Inmate Financial
Responsibility Program.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Joint and Several

Case Number

Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate
10-20403-2

Bobby Ferguson $4,584,423.00 $4,584,423.00

The defendant shall forfeit the defendant's interest in the following property to the United States:

See detail list attached.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

 
 

 

 

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DEFENDANT: KWAME M. KILPATRICK
CASE NUMBER: 10CR20403-1

ADDITIONAL FORFEITED PROPERTY

Forfeiture Money Judgment.

Pursuant to Fed. R. Crim. P. 32.2, 18 U.S.C. § 1963, and 18 U.S.C. § 981(a)(1)(C) together with 28 U.S.C. § 2461(c), defendant
shall forfeit and pay to the United States the total amount of $4,584,423.00, as such amount constitutes the amount of proceeds
obtained as a result of defendants violations of Counts One (18 U.S.C. § 1962(d), Two, Three and Four (18 U.S.C. § 1951), and
Nine (18 U.S.C. § 1951) of the Fourth Superseding Indictment. The forfeiture money judgments as to each Count are as follows:

Count Money Judgment

I $4,584,423.00
2&3 $2,082,43 1.00
4 $1,349,000.00
9 $1,152,992.00

The amounts owed under the money judgments are concurrent to one another such that the total amount to be paid by defendant
to the United States is $4,584,423.00.

Defendant will be given credit against the amount owed on the $4,584,423.00 money judgment if, and to the extent that, the
forfeiture of the specific assets listed in co-defendant Bobby Ferguson's Amended Preliminary Order of Forfeiture (Docket
#490) becomes final and the assets are liquid and/or are liquidated.

Defendant is jointly and severally liable to pay the money judgments with his co-defendant Bobby Ferguson.

The Amended Preliminary Order of Forfeiture is incorporated herein by this reference.
